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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 NEHEMIAS MEJIA,

                           Plaintiff,

         vs.                                         Civil No.: 8:19-cv-01563-GJH

 NBCUNIVERSAL MEDIA, LLC, et al.,                    ORAL ARGUMENT REQUESTED

                           Defendants.

   DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT
                     OR, IN THE ALTERNATIVE,
              TO STRIKE CLAIM FOR PUNITIVE DAMAGES

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Telemundo

Mid-Atlantic LLC (“Telemundo”), owner and operator of WZDC Telemundo 44 (“WZDC”), by

and through its undersigned attorneys, hereby moves the Court to dismiss Plaintiff’s Amended

Complaint or, in the alternative, to strike Plaintiff’s claim for punitive damages because the

Amended Complaint fails to allege facts upon which the requested relief can be granted.

       As demonstrated in the accompanying Memorandum of Law, Plaintiff’s lawsuit should

be dismissed for failure to state a claim on two separate grounds. First, taken as a whole—as the

law requires—the broadcast is not capable of the defamatory meaning alleged. Second, even if

the broadcast as a whole could support this claim, Plaintiff’s conclusory and boilerplate

allegations of fault—a required element of the defamation cause of action—are insufficient to

state a plausible claim.

       In the alternative, the Court should strike Plaintiff’s demand for punitive damages. The

Amended Complaint fails to allege any facts plausibly establishing the high burden of “actual




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malice,” as required under the First Amendment to the U.S. Constitution and Maryland law for

the recovery of such damages.

Dated: July 16, 2019

                                           Respectfully submitted,

                                           /s/ Chad R. Bowman
                                           Charles D. Tobin
                                           Chad R. Bowman
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                                           Counsel for Defendant




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                                CERTIFICATE OF SERVICE

       I certify that on July 16, 2019, I filed a true and correct copy of the foregoing

Defendant’s Motion to Dismiss Plaintiff’s Amended Complaint or, in the Alternative, to

Strike Claim for Punitive Damages with the Court’s cm/ecf system, which will cause a copy to

be served on all counsel of record.


July 16, 2019

                                                      /s/ Chad R. Bowman
                                                      Chad R. Bowman




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